AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: _ Date and time warrant executed: Copy of warrant andinventery- left with:

 

 

 

B14 G'S | 9/26/7014 B:¢4tanr| Snag Inc
Inventory made in the presence of : _™

A) A

 

Inventory of the property taken and name of any person(s) seized:

ae het eee CoAT a ney CoN es bs le = Snape bet

Qt Payer? eke a n Ow en l\4+e-
\

34

A
1

b

 

 

Certification

 

2020) JUN -8 P

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: 6/$/ A220

 

a =f Executing officer’s signature

FISZ <A (ADA Coe a

Printed name and ti

 

 

 
